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 9
                    IN THE UNITED STATES DISTRICT COURT
10
                         FOR THE DISTRICT OF ARIZONA
11
12 Martin J. Walsh, Secretary of Labor,        Case No. 2:16-cv-04499-DLR
   United States Department of Labor,
13
                 Plaintiff,                    DEFENDANT LARRY BROWNE’S
14                                             NOTICE OF JOINDER
   v.
15
   Arizona Logistics, Inc., d/b/a Diligent
16 Delivery Systems, an Arizona
   corporation, and Parts Authority Arizona
17 LLC, an Arizona limited liability
   company,
18
                  Defendants.
19
          Defendant Larry Browne, by and through counsel undersigned, hereby joins
20
   Co-Defendant Diligent Delivery Systems’ Opposition to Plaintiff’s Motion to Modify
21
   the Scheduling Order to Conduct Limited Written Expert Discovery and to Designate
22
   a Rebuttal Expert, dated March 24, 2022 [Dkt. 261].
23
          DATED this 30th day of March, 2022.
24
                                            JENNINGS, STROUSS & SALMON, P.L.C.
25
26                                        By      s/ Christopher M. Mason
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28                                             Attorneys for Defendant Larry Browne

                                                                     8162999v1(68545.1)
     Case 2:16-cv-04499-DLR Document 263 Filed 03/30/22 Page 2 of 2



 1                           CERTIFICATE OF SERVICE
 2   ☒ I hereby certify that on March 30, 2022 I electronically transmitted the
 3   attached document to the Clerk’s Office using the CM/ECF System for filing and
     transmittal of a Notice of Electronic Filing to the following CM/ECF registrants:
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